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UNITED STATES DISTRICT COURT 0540 \‘~\
FOR THE WESTERN DIS'I`RICT OF TENNESSEE `5` jo 520
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WILLIE CARNEY, `*’",-'l-i’
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. . f l ' -YOLQ//Ff
P]amtlffs, No. l-O4-1253-T-An f
JURY TRIAL DEMANDED
vs.
THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,
Dei`endant.
RODNEY CLARK,
Plaintiffs, No. 1-04-1254-T-An
JURY TRIAL DEMANDED
vs.
THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,
Defendant.
FRED JONES,
Plaintiffs, No. 1-04-1256-T-Ma
JURY TRIAL DEMANDED

VS.

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

 

ORDER

 

This document entered on the dockets eat in compfiance
warn nme 55 and,'or 79 (a) FHCP on § 151 05

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This cause comes before the court on Plaintiffs'r*_!i}:otion to extend time to respond to
Defendant's motion for protective order. Upon due consideration of Plaintiffs' motion and the
record in this cause, the Court finds that the motion is Well taken and should be granted

ACCORDINGLY, IT IS HEREBY, ORDERED, ADJUDGED AND DECREED, that

Plaintiffs motion to extend time shall be granted and that Plaintit`fs shall have until August 2,

2005 in which to respond to Defendant's motion for protective order.

ENTER THIS 055 DAY or /40?\)31'- ,2005.

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S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

 

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This notice confirms a copy of the document docketed as number 27 in
case 1:04-CV-01253 Was distributed by faX, mail, or direct printing on
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Honorable .1 ames Todd
US DISTRICT COURT

